          Case 1:20-cv-11772-RWZ Document 24 Filed 08/16/22 Page 1 of 1



                           UNITED STA fES DISTRICT COURT
                         FOR THE DISTR CT OF MASSACHUSETTS


 MARGARET MCCUE,

                 Plaintiff,

 V.                                                C.A. No. 1:20-cv-11772

 MASSACHUSETTS INSTITUTE OF
 TECHNOLOGY and KWANGHUN
 CHUNG,
          Defendants.


                     STIPULATION OF D SMISSAL WITH PREJUDICE

         Pursuant to Rule 4l(a)(l)(ii) of the ' ederal Rules of Civil Procedure, the undersigned

parties stipulate that all claims that were or 11-ould have been asserted in this action be dismissed

with prejudice and without costs, with all ri hts of appeal to be waived.


 Respectfully Submitted,

 MARGARET MCCUE                                     MASSACHUSETTS INSTITUTE OF
 By her attorneys,                                  TECHNOLOGYandKWANGHUN
                                                    CHUNG
                                                    By their attorneys,

 /s/ Ruth O'Meara-Costello                           /s/ Scott A. Roberts
 Ruth O'Meara-Costello (BBQ# 667566)                Scott A. Roberts (BBQ# 550732)
 rcostello@zalkindlaw.com                           sroberts@hrwlawyers.com
 Naomi R. Shatz (BBO# 677637)                       Elizabeth Monnin-Browder (BBO# 679005)
 nshatz@zalkind1aw.com                              monnin-browder@hrwlawyers.com
 Zalk.ind Duncan & Bernstein LLP                    Hirsch Roberts Weinstein LLP
 65a Atlantic A venue                               24 Federal Street, 12th Floor
 Boston, MA 02110                                   Boston, MA 02110
 (617) 742-6020                                     (617) 348-4300

Dated:
         August 16, 2022
